        Case 2:14-cv-00824-MSG Document 217 Filed 06/02/22 Page 1 of 3




                                                          CAITLIN G. COSLETT SHAREHOLDER
                                                               d 215.875.3057 | ccoslett@bm.net
June 2, 2022

VIA ECF
The Honorable Mitchell S. Goldberg
United States District Court
Eastern District of Pennsylvania
601 Market Street
Philadelphia, PA 19106

       Re:     United States of America, ex rel. Sarah Behnke vs. CVS Caremark Corporation,
               et al., CA No. 14-cv-00824

Dear Judge Goldberg:

Plaintiff-Relator (“Relator”) writes to follow up regarding Relator’s May 26, 2022 letter to the
Court (ECF 215) (“May 26 letter”) concerning Caremark’s failure to comply with Relator’s Rule
30(b)(6) Notice of Deposition (“Amended Notice”). Shortly after Relator filed her letter,
Caremark proposed dates for Rule 30(b)(6) deposition testimony on some Rule 30(b)(6) topics.
However, on May 31, 2022, Caremark sent Relator a letter (“May 31 letter”) in which Caremark
belatedly and impermissibly tries to further narrow the scope of the testimony Caremark will
provide, and refuses to produce a witness on Topic 13, for which Relator previously understood,
based on the parties’ communications, that Caremark would produce a witness. Caremark’s May
31 letter is untimely and prejudicial if permitted to stand, and we ask the Court to order that
Caremark produce adequate 30(b)(6) witnesses in accordance with Relator’s letter to Caremark
of May 4, 2022 (“May 4 letter”).

Relator’s May 4 letter set forth Relator’s agreement to narrow Topics 4, 9, 13, 20-22 to address
Caremark’s objections, including Relator’s understanding that “Defendants agree to provide
testimony as to Topics 4, 9, 13, 20 and 22 and will agree to provide documents and a stipulation
as to authenticity with respect to Topic 21. Relator will agree to Defendants’ proposals, with the
clarifications set forth below, and provided we have an overall agreement, Relator agrees not to
pursue 30(b)(6) testimony as to Topics 5, 10, 11, and 18.” Relator asked Caremark to advise
Relator “by Monday, May 9 whether Defendants would like to discuss or further clarify any of
these topics and provide some proposed dates for the deposition.” Caremark did not respond.
Relator’s May 17, 2022 letter (“May 17 letter”) stated: “Given the lack of response to our letter,
Relator understands that Defendants will identify witnesses regarding the topics addressed in our
April 4, 2022 letter (Topics 4, 9, 13, and 20-22), as modified in Relator’s May 4, 2022 letter.”

Caremark again failed to respond and Relator continued its deposition preparation in accordance
with our May 4 letter. Caremark’s May 31 letter is simply too late. Nor can Relator accept the
unreasonable limitations Caremark belatedly has advanced. Relator served its 30(b)(6) notice on
December 30, 2021. Caremark filed no motion for protective order. Relator thought we had
agreement on May 4. The Court should enforce that agreement.


                                                          1818 MARKET STREET, SUITE 3600
                                                          PHILADELPHIA, PA 19103
                                                          215.875.3000 BERGERMONTAGUE.COM
         Case 2:14-cv-00824-MSG Document 217 Filed 06/02/22 Page 2 of 3


June 2, 2022
Page 2 of 3

Moreover, Caremark’s May 31 letter provides no basis to limit the scope of Caremark’s 30(b)(6)
testimony beyond what Relator has already agreed. Caremark has designated an in-house
attorney (Kevin Blake) to testify about Topics 4, 9, and 20 even though Mr. Blake (who has
attended several depositions in this action) seemingly has little or no relevant work experience or
personal knowledge of the topics at issue, and has worked at Caremark for under five years, all
post-dating the conduct being challenged. 1 (Caremark has also agreed to produce Mr. Azzolina,
a business employee, to testify regarding Topic 22.) Caremark further seeks to limit the scope of
what Mr. Blake and its other designee will testify about, committing only that “Caremark is
willing to make reasonable efforts to prepare a corporate representative to testify generally about
a high-level description of” portions of Topics 4, 9, and 22, and that “Caremark is willing to
make reasonable efforts to prepare a corporate representative to testify generally about
documents” relevant to Topic 20. Caremark purports to impose several other unreasonable
limitations on its 30(b)(6) testimony:
    •   Topic 4 seeks testimony concerning Caremark’s business practices regarding Medicare
        Part D pricing with respect to pharmacies and/or pharmacy networks. Caremark’s May 31
        letter states that Caremark will not produce a witness to testify about how its pricing
        policies or practices actually operate. This is baseless. Relator is entitled to testimony
        about how Caremark’s policies were followed and work in practice, i.e., “operate.”
    •   Topic 9 seeks testimony concerning Caremark’s reconciliations with the pharmacies,
        which show the prices Caremark paid for generic drugs, including generic drugs dispensed
        to Medicare Part D beneficiaries, which are the prices required to be reported to CMS.
        Caremark’s May 31 letter states that Caremark refuses to identify the individuals
        responsible for these reconciliations and further states that Caremark will not prepare a
        witness to testify regarding specific reconciliations or which individuals prepared the
        reconciliations. This is flatly improper. Relator is entitled to testimony identifying who
        created the reconciliations that Caremark has identified as final because these
        reconciliations were produced without cover emails and without metadata identifying the
        individual(s) who created these documents. Relator is also entitled to specific testimony
        from a knowledgeable witness about these highly relevant documents. 2
    •   Topic 20 seeks testimony concerning the generic effective rates (“GER”), i.e., the generic
        price discount rate, with regard to CVS Pharmacy. Caremark impermissibly seeks to offer
        a witness to “testify generally about” about this subject (emphasis in May 31 letter), but
        refuses to prepare Mr. Blake (the in-house lawyer) to testify about the details of relevant
        documents, despite Relator’s agreement to identify in advance documents and specific
        parts of documents that will be the subject of the deposition. This too is improper.
    •   Topic 22 seeks testimony concerning Caremark’s communications with CMS concerning
        Medicare Part D drug price reporting. To aid Caremark’s preparation of its witness,
1
  https://www.linkedin.com/in/kevin-blake-72524535/.
2
  Relator also seeks testimony regarding the extent to which Caremark’s pharmacy reconciliations contain
or can be produced with rows including information (“SSI [SilverScript] Totals” and “Aetna MEDD
Totals”) that is included in only one reconciliation produced in this case. Relator sought this information
from Caremark’s counsel in a May 6, 2022 letter, but Caremark has not responded to this letter either.
         Case 2:14-cv-00824-MSG Document 217 Filed 06/02/22 Page 3 of 3


June 2, 2022
Page 3 of 3

       Relator explained that it seeks testimony regarding the subject matter covered by Relator’s
       Requests for Admissions Nos. 30-39, which Caremark refused to answer. Caremark
       refuses to provide this testimony, and also refuses to provide testimony regarding any
       Caremark communications with CMS made through Pharmaceutical Care Management
       Association (PCMA), a trade group of which Caremark is a member. Caremark should be
       compelled to give testimony on this relevant subject without its purported limitations.

Caremark cannot avoid its obligation to provide a fully prepared Rule 30(b)(6) designee to testify
regarding the 30(b)(6) topics by unilaterally announcing, at this late date, that it is unreasonably
narrowing the topics and designating an in-house lawyer with (apparently) little or no personal
knowledge. 3 By designating its in-house lawyer and advancing untimely and unreasonable
limitations on the 30(b)(6) topics, Caremark apparently seeks to proffer attorney argument
instead of the required knowledgeable, factual testimony. This should not be permitted.

Caremark also refused to provide a witness for Topic 13, which as narrowed seeks an
explanation of Defendants’ training of employees during the period of January 1, 2009 through
December 31, 2016 regarding, inter alia, negotiations of GER guarantees with Rite Aid and
Walgreens and GER guarantees or targets with CVS pharmacy. Relator will identify deposition
exhibits in advance, and Caremark should be compelled to provide testimony on this topic.
Caremark’s May 31 letter argues that any testimony on Topic 13 will be subsumed within Topic
4, but this is nonsensical given Caremark’s attempt to unreasonably narrow Topic 4.

Relator respectfully requests that the Court reject Caremark’s untimely, baseless efforts to limit
the scope of its Rule 30(b)(6) testimony, and compel Caremark to promptly provide a witness to
testify regarding Topics 4, 9, 13, 20-22, as modified in Relator’s May 4 letter. 4

Relator also respectfully requests a conference at the Court’s earliest convenience to address
issues that likely will require Court involvement given the July 15, 2022 discovery deadline,
including Caremark’s failure to timely respond to other meet and confer correspondence, the
duration of the 30(b)(6) deposition, and the likely need for more than 15 depositions in this
complex case, which need arises, in part, from Caremark’s failure to provide timely 30(b)(6)
testimony identifying individuals with knowledge of key subjects. 5

Respectfully,

/s/ Caitlin G. Coslett


cc: All counsel via ECF

3
  See Reilly v. NatWest Mkts. Grp., Inc., 181 F.3d 253, 268 (2d Cir. 1999) (A corporation “has an
affirmative duty to make available [for 30(b)(6) deposition] such number of persons as will be able to
give complete, knowledgeable and binding answers on its behalf.”) (citation omitted).
4
  Relator agreed to accept production of certain SEC filings and an authenticity stipulation in lieu of
testimony on Topic 21, but Caremark has not provided either.
5
  The dates Caremark offered for Mr. Blake’s deposition are just weeks before the close of discovery.
